Case 4:20-cv-00357-JED-JFJ Document 2 Filed in USDC ND/OK on 07/23/20 Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA



 (1) CATHERINE WILSON

                         Plaintiff,
                                                                                   COMPLAINT
  vs.                                                                  (Unlawful Debt Collection Practices)

 (1) COLLECTO,INC. D/By A EOS CCA,and                                   Case No.: 4:20-cv-00357-JED-JFJ
 (2) US ASSET MANAGEMENT,INC.,
                                                                           JURY TRIAL DEMANDED
                         Defendants.




                                            COMPLAINT


        NOW COMES Plainti ff,         Catherine Wilson, and for her Complaint against Defendants,

 Collecto, Inc. d/b/a EOS CCA ("EOS") and US Asset Management, Inc.("US Asset"), alleges as

 follows:


                                          INTRODUCTION


        1.     Flair tiff states   a claim against EOS and US Asset for violation of the Fair Debt

 Collection Practices Act, codi led 15 U.S.C. § 1692 et seq. (hereinafter "FDCPA"), which was

 enacted in 1978.


        2.     Congress stated its findings and purpose of the FDCPA:

        (a) Abusive practices

                    There is abimdcmt evidence of the use of abusive, deceptive,
                    and unfair Aebt collection practices by many debt collectors,
                    /.busive debt collection practices contribute to the number of
                    personal bankruptcies, to marital instability, to the loss ofjobs,
                    and to invasions of individual privacy.

        (b) Inadequacy of la>^

                    Existing lav s and procedures for redressing these injuries are
Case 4:20-cv-00357-JED-JFJ Document 2 Filed in USDC ND/OK on 07/23/20 Page 2 of 7
Case 4:20-cv-00357-JED-JFJ Document 2 Filed in USDC ND/OK on 07/23/20 Page 3 of 7
Case 4:20-cv-00357-JED-JFJ Document 2 Filed in USDC ND/OK on 07/23/20 Page 4 of 7
Case 4:20-cv-00357-JED-JFJ Document 2 Filed in USDC ND/OK on 07/23/20 Page 5 of 7
Case 4:20-cv-00357-JED-JFJ Document 2 Filed in USDC ND/OK on 07/23/20 Page 6 of 7
Case 4:20-cv-00357-JED-JFJ Document 2 Filed in USDC ND/OK on 07/23/20 Page 7 of 7
